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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                     OFFICE OF THE SPECIAL MASTERS
                                             No. 12-838V
                                     Filed: September 29, 2014
                                        (Not to be published)

*************************
DONALD BEST, as Sole Heir of the                           *
Estate of Ellen Best,                                      *
                                                           *        Stipulation;
                         Petitioner,                       *        Attorneys’ Fees & Costs
        v.                                                 *
                                                           *
SECRETARY OF HEALTH                                        *
AND HUMAN SERVICES,                                        *
                                                           *
                    Respondent.                            *
****************************
Anne Toale, Esq., Maglio Christopher and Toale, Sarasota, Fl for petitioner.
Lara Englund, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                             DECISION ON ATTORNEY FEES AND COSTS1

Gowen, Special Master:

        In this case under the National Vaccine Injury Compensation Program,2 I issued
a Decision on September 2, 2014, adopting the parties’ stipulation for award. On
September 29, 2014, the parties filed a Stipulation of Fact concerning attorneys’ fees
and costs. Additionally, pursuant to General Order #9, the stipulation notes that
petitioner incurred no personal litigation costs.

     The parties’ stipulation indicates that respondent does not object to the amended
amount of $32,000.00 that petitioner is requesting for attorneys’ fees and costs.

        I find that this petition was brought in good faith and that there existed a

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2
  The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq.
(2006).
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reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. §§ 300aa-15(b) and (e)(1). Further, the proposed amount seems
reasonable and appropriate. Accordingly, I hereby award:

               a lump sum of $32,000.00 in the form of a check payable jointly to
                petitioner and petitioner’s attorney, Anne Toale, for petitioner’s
                attorneys’ fees and costs.

        The clerk of the court shall enter judgment in accordance herewith.3


IT IS SO ORDERED.
                                                 s/Thomas L. Gowen
                                                 Thomas L. Gowen
                                                 Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).
